     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 1 of 21 Page ID #:121



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9    UNITED STATES OF AMERICA
10                           UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12   UNITED STATES OF AMERICA,                No. 2:23-cr-00164(A)-JVS

13             Plaintiff,                     PLEA AGREEMENT FOR DEFENDANT
                                              ADRIAN BENAVIDES-SCHORGI
14                   v.

15   ADRIAN BENAVIDES-SCHORGI,

16             Defendant.

17

18        1.    This constitutes the plea agreement between ADRIAN
19   BENAVIDES-SCHORGI (“defendant”) and the United States Attorney’s
20   Office for the Central District of California (the “USAO”) in the
21   above-captioned case.     This agreement is limited to the USAO and
22   cannot bind any other federal, state, local, or foreign prosecuting,
23   enforcement, administrative, or regulatory authorities.
24                              DEFENDANT’S OBLIGATIONS
25        2.    Defendant agrees to:
26              a.    Give up the right to indictment by a grand jury and,
27   at the earliest opportunity requested by the USAO and provided by the
28   Court, appear and plead guilty to a single-count first superseding
     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 2 of 21 Page ID #:122



1    information in the form attached to this agreement as Exhibit A or a

2    substantially similar form, which charges defendant with distribution

3    of fentanyl, a schedule II narcotic drug controlled substance, in

4    violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C).

5               b.    Not contest facts agreed to in this agreement.

6               c.    Abide by all agreements regarding sentencing contained

7    in this agreement.

8               d.    Appear for all court appearances, surrender as ordered

9    for service of sentence, obey all conditions of any bond, and obey
10   any other ongoing court order in this matter.
11              e.    Not commit any crime; however, offenses that would be
12   excluded for sentencing purposes under United States Sentencing
13   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not
14   within the scope of this agreement.
15              f.    Be truthful at all times with the United States
16   Probation and Pretrial Services Office and the Court.
17              g.    Pay the applicable special assessment at or before the
18   time of sentencing unless defendant has demonstrated a lack of

19   ability to pay such assessments.

20              h.    Recommend that defendant be sentenced to a term of

21   imprisonment of no less than 120 months and not seek, argue, or

22   suggest in any way, either orally or in writing, that the Court

23   impose a term of imprisonment below 120 months.

24              i.    Agree to and not oppose the imposition of the

25   following conditions of probation or supervised release:

26                    i.    A condition requiring defendant to submit to a

27   search, at any time, with or without a warrant, and by any law

28   enforcement or probation officer, of defendant’s person and any

                                           2
     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 3 of 21 Page ID #:123



1    property, house, residence, vehicle, papers, computer, other

2    electronic communication or data storage devices or media, and

3    effects, upon reasonable suspicion concerning a violation of a

4    condition of probation or unlawful conduct by defendant, or by any

5    probation officer in the lawful discharge of the officer’s

6    supervision functions.

7                               THE USAO’S OBLIGATIONS

8         3.    The USAO agrees to:

9               a.    Not contest facts agreed to in this agreement.
10              b.    Abide by all agreements regarding sentencing contained
11   in this agreement.
12              c.    At the time of sentencing, move to dismiss the
13   underlying indictment as against defendant.         Defendant agrees,
14   however, that at the time of sentencing the Court may consider any
15   dismissed charges in determining the applicable Sentencing Guidelines
16   range, the propriety and extent of any departure from that range, and
17   the sentence to be imposed.
18              d.    At the time of sentencing, provided that defendant

19   demonstrates an acceptance of responsibility for the offense up to

20   and including the time of sentencing, recommend a two-level reduction

21   in the applicable Sentencing Guidelines offense level, pursuant to

22   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

23   additional one-level reduction if available under that section.

24              e.    Not seek a sentence of imprisonment above the mid-

25   point of the applicable Sentencing Guidelines range, provided that

26   the offense level used by the Court to determine that range is 35 or

27   higher and provided that the Court does not depart downward in

28   offense level or criminal history category.         For purposes of this

                                           3
     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 4 of 21 Page ID #:124



1    agreement, the mid-point of the Sentencing Guidelines range is that

2    defined by the Sentencing Table in U.S.S.G. Chapter 5, Part A.

3                                NATURE OF THE OFFENSE

4         4.    Defendant understands that for defendant to be guilty of

5    the crime charged in the single-count first superseding information,

6    that is, distribution of fentanyl, a schedule II narcotic drug

7    controlled substance, in violation of 21 U.S.C. §§ 841(a)(1),

8    (b)(1)(C), the following must be true:         (1) defendant knowingly

9    distributed a Schedule II narcotic drug controlled substance; and (2)
10   defendant knew that it was a federally controlled substance.
11        “Distribution” means delivering or transferring possession of
12   fentanyl to another person, with or without any financial interest in
13   that transaction.     It does not matter whether defendant knew that the
14   substance was fentanyl.      It is sufficient that defendant knew that it
15   was some kind of a federally controlled substance.
16                                      PENALTIES

17        5.    Defendant understands that the statutory maximum sentence

18   that the Court can impose for a violation of 21 U.S.C. §§ 841(a)(1),

19   (b)(1)(C), as charged in the single-count first superseding

20   information, is:    20 years’ imprisonment; a lifetime period of

21   supervised release; a fine of $1,000,000 or twice the gross gain or

22   gross loss resulting from the offense, whichever is greatest; and a

23   mandatory special assessment of $100.

24        6.    Defendant understands that the statutory mandatory minimum

25   sentence that the Court must impose for a violation of 21 U.S.C.

26   §§ 841(a)(1), (b)(1)(C) is:      a three-year period of supervised

27   release; and a mandatory special assessment of $100.

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     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 5 of 21 Page ID #:125



1         7.    Defendant understands that supervised release is a period

2    of time following imprisonment during which defendant will be subject

3    to various restrictions and requirements.         Defendant understands that

4    if defendant violates one or more of the conditions of any supervised

5    release imposed, defendant may be returned to prison for all or part

6    of the term of supervised release authorized by statute for the

7    offense that resulted in the term of supervised release, which could

8    result in defendant serving a total term of imprisonment greater than

9    the statutory maximum stated above.
10        8.    Defendant understands that, by pleading guilty, defendant
11   may be giving up valuable government benefits and valuable civic
12   rights, such as the right to vote, the right to possess a firearm,
13   the right to hold office, and the right to serve on a jury.
14   Defendant understands that he is pleading guilty to a felony and that
15   it is a federal crime for a convicted felon to possess a firearm or
16   ammunition.   Defendant understands that the conviction in this case
17   may also subject defendant to various other collateral consequences,
18   including but not limited to revocation of probation, parole, or

19   supervised release in another case and suspension or revocation of a

20   professional license.     Defendant understands that unanticipated

21   collateral consequences will not serve as grounds to withdraw

22   defendant’s guilty plea.

23        9.    Defendant understands that under 21 U.S.C. § 862a,

24   defendant may not be eligible for assistance under state programs

25   funded under the Social Security Act or Federal Food Stamp Act or for

26   federal food stamp program benefits, and that any such benefits or

27   assistance received by defendant’s family members may be reduced to

28   reflect defendant’s ineligibility.

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     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 6 of 21 Page ID #:126



1         10.   Defendant and his counsel have discussed the fact that, and

2    defendant understands that, if defendant is not a United States

3    citizen, the conviction in this case makes it practically inevitable

4    and a virtual certainty that defendant will be removed or deported

5    from the United States.      Defendant may also be denied United States

6    citizenship and admission to the United States in the future.

7    Defendant understands that while there may be arguments that

8    defendant can raise in immigration proceedings to avoid or delay

9    removal, removal is presumptively mandatory and a virtual certainty
10   in this case.    Defendant further understands that removal and
11   immigration consequences are the subject of a separate proceeding and
12   that no one, including his attorney or the Court, can predict to an
13   absolute certainty the effect of his conviction on his immigration
14   status.    Defendant nevertheless affirms that he wants to plead guilty
15   regardless of any immigration consequences that his plea may entail,
16   even if the consequence is automatic removal from the United States.
17                                   FACTUAL BASIS

18        11.   Defendant admits that defendant is, in fact, guilty of the

19   offense to which defendant is agreeing to plead guilty.           Defendant

20   and the USAO agree to the statement of facts provided below and agree

21   that this statement of facts is sufficient to support a plea of

22   guilty to the charge described in this agreement and to establish the

23   Sentencing Guidelines factors set forth in paragraph 14 below but is

24   not meant to be a complete recitation of all facts relevant to the

25   underlying criminal conduct or all facts known to either party that

26   relate to that conduct.

27        On or about May 24, 2022, in Los Angeles County, California,

28   within the Central District of California, defendant knowingly

                                           6
     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 7 of 21 Page ID #:127



1    distributed a controlled substance to another person.           Specifically,

2    that evening, defendant knowingly and intentionally sold three pills

3    to minor victim S.S.     Defendant knew the pills contained a federally

4    controlled substance.     Defendant did not know the pills contained

5    fentanyl.   The pills in fact contained fentanyl.         S.S., together with

6    minor victims E.M. and J.V., then ingested the pills, resulting in

7    each of their hospitalization and serious bodily injury.

8                                  SENTENCING FACTORS

9         12.    Defendant understands that in determining defendant’s
10   sentence the Court is required to calculate the applicable Sentencing
11   Guidelines range and to consider that range, possible departures
12   under the Sentencing Guidelines, and the other sentencing factors set
13   forth in 18 U.S.C. § 3553(a).       Defendant understands that the
14   Sentencing Guidelines are advisory only, that defendant cannot have
15   any expectation of receiving a sentence within the calculated
16   Sentencing Guidelines range, and that after considering the
17   Sentencing Guidelines and the other § 3553(a) factors, the Court will
18   be free to exercise its discretion to impose any sentence it finds

19   appropriate between the mandatory minimum and up to the maximum set

20   by statute for the crime of conviction.

21        13.    Pursuant to U.S.S.G. §§ 1B1.2(a) and (c), the parties

22   stipulate that defendant committed a separate violation of

23   21 U.S.C. §§ 841(a)(1), (b)(1)(C) (distribution of controlled

24   substances resulting in serious bodily injury), in that, on or about

25   May 24, 2022, defendant knowingly distributed fentanyl, the use of

26   which resulted in the serious bodily injury of minor victims S.S.,

27   E.M., and J.V., and that such distribution of fentanyl resulting in

28   serious bodily injury constitutes a more serious offense than the

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     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 8 of 21 Page ID #:128



1    offense of conviction for purposes of calculating the applicable

2    Sentencing Guidelines offense level.           Accordingly, pursuant to

3    U.S.S.G. §§ 2D1.1(a)(2), 1B1.2(a) and 1B1.2(c), the parties stipulate

4    that the Court should calculate the Sentencing Guidelines as if

5    defendant had been convicted of the offense described in this

6    paragraph and apply a base offense level 38.           The parties further

7    stipulate that application of such a base offense level is

8    independently supported by U.S.S.G. § 5K2.1.           Defendant agrees not to

9    recommend, argue, or otherwise suggest, orally or in writing, that
10   the court impose a base offense level other than 38.
11        14.   Defendant and the USAO agree to the following applicable
12   Sentencing Guidelines factors:
13      Base Offense Level:                    38         U.S.S.G. § 2D1.1(a)(2)

14   The USAO will agree to a two-level downward adjustment for acceptance

15   of responsibility (and, if applicable, move for an additional one-

16   level downward adjustment under U.S.S.G. § 3E1.1(b)) only if the

17   conditions set forth in paragraph 3(d) are met and if defendant has

18   not committed, and refrains from committing, acts constituting

19   obstruction of justice within the meaning of U.S.S.G. § 3C1.1, as

20   discussed below.    Subject to paragraph 27 below, defendant and the

21   USAO agree not to seek, argue, or suggest in any way, either orally

22   or in writing, that any other specific offense characteristics,

23   adjustments, or departures relating to the offense level be imposed.

24   Defendant agrees, however, that if, after signing this agreement but

25   prior to sentencing, defendant were to commit an act, or the USAO

26   were to discover a previously undiscovered act committed by defendant

27   prior to signing this agreement, which act, in the judgment of the

28   USAO, constituted obstruction of justice within the meaning of

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     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 9 of 21 Page ID #:129



1    U.S.S.G. § 3C1.1, the USAO would be free to seek the enhancement set

2    forth in that section and to argue that defendant is not entitled to

3    a downward adjustment for acceptance of responsibility under U.S.S.G.

4    § 3E1.1.

5         15.   Defendant understands that there is no agreement as to

6    defendant’s criminal history or criminal history category.

7         16.   Defendant and the USAO reserve the right to argue for a

8    sentence outside the sentencing range established by the Sentencing

9    Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
10   (a)(2), (a)(3), (a)(6), and (a)(7), subject to paragraphs 2(h), 3(e)
11   and 13 above.
12                         WAIVER OF CONSTITUTIONAL RIGHTS

13        17.   Defendant understands that by pleading guilty, defendant

14   gives up the following rights:

15              a.    The right to persist in a plea of not guilty.

16              b.    The right to a speedy and public trial by jury.

17              c.    The right to be represented by counsel –- and if

18   necessary have the Court appoint counsel -- at trial.           Defendant

19   understands, however, that, defendant retains the right to be

20   represented by counsel –- and if necessary have the Court appoint

21   counsel –- at every other stage of the proceeding.

22              d.    The right to be presumed innocent and to have the

23   burden of proof placed on the government to prove defendant guilty

24   beyond a reasonable doubt.

25              e.    The right to confront and cross-examine witnesses

26   against defendant.

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     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 10 of 21 Page ID #:130



1                 f.   The right to testify and to present evidence in

2    opposition to the charges, including the right to compel the

3    attendance of witnesses to testify.

4                 g.   The right not to be compelled to testify, and, if

5    defendant chose not to testify or present evidence, to have that

6    choice not be used against defendant.

7                 h.   Any and all rights to pursue any affirmative defenses,

8    Fourth Amendment or Fifth Amendment claims, and other pretrial

9    motions that have been filed or could be filed.
10               WAIVER OF APPEAL OF CONVICTION AND COLLATERAL ATTACK

11         18.    Defendant understands that, with the exception of an appeal

12   based on a claim that defendant’s guilty plea was involuntary, by

13   pleading guilty defendant is waiving and giving up any right to

14   appeal defendant’s conviction on the offense to which defendant is

15   pleading guilty.     Defendant understands that this waiver includes,

16   but is not limited to, arguments that the statute to which defendant

17   is pleading guilty is unconstitutional, and any and all claims that

18   the statement of facts provided herein is insufficient to support

19   defendant’s plea of guilty.

20         19.    Defendant also gives up any right to bring a post-

21   conviction collateral attack on the conviction or sentence, except a

22   post-conviction collateral attack based on a claim of ineffective

23   assistance of counsel, a claim of newly discovered evidence, or an

24   explicitly retroactive change in the applicable Sentencing

25   Guidelines, sentencing statutes, or statutes of conviction.

26   Defendant understands that this waiver includes, but is not limited

27   to, arguments that the statute to which defendant is pleading guilty

28   is unconstitutional, and any and all claims that the statement of

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     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 11 of 21 Page ID #:131



1    facts provided herein is insufficient to support defendant’s plea of

2    guilty.

3                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

4          20.   Defendant agrees that, provided the Court imposes a total

5    term of imprisonment on all counts of conviction within or below the

6    Sentencing Guidelines range corresponding to an offense level of 35,

7    defendant gives up the right to appeal all of the following: (a) the

8    procedures and calculations used to determine and impose any portion

9    of the sentence, with the exception of the Court’s calculation of
10   defendant’s criminal history category; (b) the term of imprisonment
11   imposed by the Court; (c) the fine imposed by the Court, provided it
12   is within the statutory maximum; (d) to the extent permitted by law,
13   the constitutionality or legality of defendant’s sentence, provided
14   it is within the statutory maximum; (e) the term of probation or
15   supervised release imposed by the Court, provided it is within the
16   statutory maximum; and (g) any of the following conditions of
17   probation or supervised release imposed by the Court: the conditions
18   set forth in Second Amended General Order 20-04 of this Court; the

19   drug testing conditions mandated by 18 U.S.C. §§ 3563(a)(5) and

20   3583(d); the alcohol and drug use conditions authorized by 18 U.S.C.

21   § 3563(b)(7); and any conditions of probation or supervised release

22   agreed to by defendant in paragraph 2 above.

23         21.   The USAO agrees that, provided (a) all portions of the

24   sentence are at or above the statutory minimum and at or below the

25   statutory maximum specified above and (b) the Court imposes a term of

26   imprisonment of no less than 120 months, the USAO gives up its right

27   to appeal any portion of the sentence.

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     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 12 of 21 Page ID #:132



1                        RESULT OF WITHDRAWAL OF GUILTY PLEA

2          22.   Defendant agrees that if, after entering a guilty plea

3    pursuant to this agreement, defendant seeks to withdraw and succeeds

4    in withdrawing defendant’s guilty plea on any basis other than a

5    claim and finding that entry into this plea agreement was

6    involuntary, then (a) the USAO will be relieved of all of its

7    obligations under this agreement; and (b) should the USAO choose to

8    pursue any charge that was either dismissed or not filed as a result

9    of this agreement, then (i) any applicable statute of limitations
10   will be tolled between the date of defendant’s signing of this
11   agreement and the filing commencing any such action; and
12   (ii) defendant waives and gives up all defenses based on the statute
13   of limitations, any claim of pre-indictment delay, or any speedy
14   trial claim with respect to any such action, except to the extent
15   that such defenses existed as of the date of defendant’s signing this
16   agreement.
17                    RESULT OF VACATUR, REVERSAL OR SET-ASIDE

18         23.   Defendant agrees that if the count of conviction is

19   vacated, reversed, or set aside, both the USAO and defendant will be

20   released from all their obligations under this agreement.

21                            EFFECTIVE DATE OF AGREEMENT

22         24.   This agreement is effective upon signature and execution of

23   all required certifications by defendant, defendant’s counsel, and an

24   Assistant United States Attorney.

25                                BREACH OF AGREEMENT

26         25.   Defendant agrees that if defendant, at any time after the

27   effective date of this agreement, knowingly violates or fails to

28   perform any of defendant’s obligations under this agreement (“a

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     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 13 of 21 Page ID #:133



1    breach”), the USAO may declare this agreement breached.            All of

2    defendant’s obligations are material, a single breach of this

3    agreement is sufficient for the USAO to declare a breach, and

4    defendant shall not be deemed to have cured a breach without the

5    express agreement of the USAO in writing.         If the USAO declares this

6    agreement breached, and the Court finds such a breach to have

7    occurred, then: (a) if defendant has previously entered a guilty plea

8    pursuant to this agreement, defendant will not be able to withdraw

9    the guilty plea, and (b) the USAO will be relieved of all its
10   obligations under this agreement.
11         26.   Following the Court’s finding of a knowing breach of this
12   agreement by defendant, should the USAO choose to pursue any charge
13   that was either dismissed or not filed as a result of this agreement,
14   then:
15               a.   Defendant agrees that any applicable statute of
16   limitations is tolled between the date of defendant’s signing of this
17   agreement and the filing commencing any such action.
18               b.   Defendant waives and gives up all defenses based on

19   the statute of limitations, any claim of pre-indictment delay, or any

20   speedy trial claim with respect to any such action, except to the

21   extent that such defenses existed as of the date of defendant’s

22   signing this agreement.

23               c.   Defendant agrees that: (i) any statements made by

24   defendant, under oath, at the guilty plea hearing (if such a hearing

25   occurred prior to the breach); (ii) the agreed to factual basis

26   statement in this agreement; and (iii) any evidence derived from such

27   statements, shall be admissible against defendant in any such action

28   against defendant, and defendant waives and gives up any claim under

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     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 14 of 21 Page ID #:134



1    the United States Constitution, any statute, Rule 410 of the Federal

2    Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

3    Procedure, or any other federal rule, that the statements or any

4    evidence derived from the statements should be suppressed or are

5    inadmissible.

6            COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

7                                  OFFICE NOT PARTIES

8          27.   Defendant understands that the Court and the United States

9    Probation and Pretrial Services Office are not parties to this
10   agreement and need not accept any of the USAO’s sentencing
11   recommendations or the parties’ agreements to facts or sentencing
12   factors.
13         28.   Defendant understands that both defendant and the USAO are
14   free to: (a) supplement the facts by supplying relevant information
15   to the United States Probation and Pretrial Services Office and the
16   Court, (b) correct any and all factual misstatements relating to the
17   Court’s Sentencing Guidelines calculations and determination of
18   sentence, and (c) argue on appeal and collateral review that the

19   Court’s Sentencing Guidelines calculations and the sentence it

20   chooses to impose are not error, although each party agrees to

21   maintain its view that the calculations in paragraph 14 are

22   consistent with the facts of this case.         While this paragraph permits

23   both the USAO and defendant to submit full and complete factual

24   information to the United States Probation and Pretrial Services

25   Office and the Court, even if that factual information may be viewed

26   as inconsistent with the facts agreed to in this agreement, this

27   paragraph does not affect defendant’s and the USAO’s obligations not

28   to contest the facts agreed to in this agreement.

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     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 15 of 21 Page ID #:135



1          29.   Defendant understands that even if the Court ignores any

2    sentencing recommendation, finds facts or reaches conclusions

3    different from those agreed to, and/or imposes any sentence up to the

4    maximum established by statute, defendant cannot, for that reason,

5    withdraw defendant’s guilty plea, and defendant will remain bound to

6    fulfill all defendant’s obligations under this agreement.            Defendant

7    understands that no one –- not the prosecutor, defendant’s attorney,

8    or the Court –- can make a binding prediction or promise regarding

9    the sentence defendant will receive, except that it will be between
10   the statutory mandatory minimum and within the statutory maximum.
11                              NO ADDITIONAL AGREEMENTS

12         30.   Defendant understands that, except as set forth herein,

13   there are no promises, understandings, or agreements between the USAO

14   and defendant or defendant’s attorney, and that no additional

15   promise, understanding, or agreement may be entered into unless in a

16   writing signed by all parties or on the record in court.

17   //

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Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 16 of 21 Page ID #:136




                                                  January 23, 2024
Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 17 of 21 Page ID #:137
Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 18 of 21 Page ID #:138
Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 19 of 21 Page ID #:139




                   Exhibit A
     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 20 of 21 Page ID #:140



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8                          UNITED STATES DISTRICT COURT

9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,              No. 2:23-cr-00164(A)-JVS

12              Plaintiff,                  F I R S T
                                            S U P E R S E D I N G
13                    v.                    I N F O R M A T I O N

14   ADRIAN BENAVIDES-SCHORGI,              [21 U.S.C. §§ 841(a)(1),
                                            (b)(1)(C): Distribution of
15              Defendant.                  Fentanyl]

16

17

18         The United States Attorney charges:
19                    [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]
20         On or about May 24, 2022, in Los Angeles County, within the
21   Central District of California, defendant ADRIAN BENAVIDES-
22   //
23   //
24   //
25   //
26   //
27   //
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     Case 2:23-cr-00164-JVS Document 31 Filed 01/26/24 Page 21 of 21 Page ID #:141



1    SCHORGI knowingly and intentionally distributed fentanyl, a

2    Schedule II narcotic drug controlled substance.

3
                                        E. MARTIN ESTRADA
4                                       United States Attorney

5                                       MACK E. JENKINS
                                        Assistant United States Attorney
6                                       Chief, Criminal Division

7

8
                                        SCOTT M. GARRINGER
9                                       Assistant United States Attorney
                                        Deputy Chief, Criminal Division
10
                                        JOANNA M. CURTIS
11                                      Assistant United States Attorney
                                        Chief, General Crimes Section
12
                                        JEREMY K. BEECHER
13                                      Assistant United States Attorney
                                        General Crimes Section
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